Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 1 of 41 PagelD: 120

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY - TRENTON

KATHLEEN E. MITCHELL A/K/A Case No.: 3:19-cv-06615
KATHLEEN MITCHELL WILLIE DUKES,

Plaintiff,

vs. AMENDED COMPLAINT

LEADERS FINANCIAL AND
ENGLISHTOWN AUTO SALES, D/B/A
WOODBURY TRUCK CENTER, AMJAD
BARAKAT, INDIVIDUALLY AND AS
AGENT OF ENGLISHTOWN AUTO SALES,
PRESSLER, FELT & WARSHAW, LLP,

Defendants.

 

 

KATHLEEN &. MITCHELL A/K/A KATHLEEN MITCHELL WILLIE DUKES,

of full age, hereby Complains as follows:
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 2 of 41 PagelID: 121

JURISDICTION

1. This action arises out of Defendant’s (as applicable
and discussed herein) violations of the Fair Debt Collection
Practices Act, 15 USC 1692, et seg. (“FDCPA”) in its illegal
efforts to collect a consumer debt and jurisdiction is therefore
proper in this Court pursuant to 28 USC 1331.

2. This action is also brought against the Defendants (as
may be applicable discussed herein) for violations of the New
Jersey Consumer Fraud Act, NJS 56:8-1, et seqg., the New Jersey
Retail Installment Sales Act, NJS 17:16C-1, et segq., the New
Jersey Truth-in-Consumer Contract Warranty and Notice Act, NJS
96:12-24, et seg., Violation of New Jersey Usury laws, NJS 31:1-
1 and 2C:21-19 and violation of Plaintiff’s rights as a
collateralized debtor pursuant to NUS 12A:9-1, et seq. and for
Civil Conspiracy amongst the defendants and against Plaintiff.

3. Supplemental jurisdiction exists pursuant to 28 USC
1367 and this Court has original jurisdiction over Plaintiff's
state law claims through the above statute and because of the
applicability of the Entire Controversy Doctrine. NJ Court Rule
4:30A.

4. Venue is proper in this District pursuant to 28 USC
1391(b) and (c) because Plaintiff resides within the District of

New Jersey, a substantial portion of the events or omissions
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 3 of 41 PagelID: 122

giving rise to the claim occurred in this District and
Defendants regularly conduct business in this District.

5. The Plaintiff, KATHLEEN E. MITCHELL A/K/A KATHLEEN
MITCHELL WILLIE DUES (“Plaintiff” or “Ms. Mitchell”), is an
adult individual and New Jersey resident, and is a “consumer” as
the term is defined by 15 USC 1692(a) (3). The Plaintiff has an
address of 536 Woodbury Lake Drive, Deptford, NI 08096.

6. Defendant PRESSLER, FELT & WARSHAR, LLP (“PFW”), is
doing business in the State of New Jersey as a business entity
operating as a collection agency, and is a “debot collector” as
the term is defined by 15 USC 1692a(6). PFW at all times acted
by and through one or more of its debt collectors or other
agents (the “Collectors”). Pressler address for service is 7
Entin Road, Parsippany, New Jersey 07054.

7. Defendant Englishtown Auto Sales, d/b/a Woodbury Truck
Center (“Englishtown”) is, on information and belief, a domestic
limited liability company licensed to do business in the State
of New Jersey with a principal place of business at 413 Salem
Avenue, Woodbury, NJ 08857 and an address for service at x/o
Amjad Barakat, 1246 Englishtown Road, Old Bridge, NJ 08857.

8. Amjad Barakat, (“Barakat”) individually and as owner
of Englishtown Auto Sales, on information and belief is a
resident of the State of New Jersey with an address of service

at 1246 Englishtown Road, Old Bridge, NJ 08857.
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 4 of 41 PagelID: 123

9. Defendant Leaders Financial (“Leaders”) is, on
information and belief, a company licensed to do business in the
State of New Jersey and was engaged in business in New Jersey at
all times herein. In 2018 alone, defendant Leaders Financial
filed 144 separate complaints for debt collection in the New
Jersey Superior Court. [Exhibit 1] (Plaintiff Mitchell’s
Complaint was the 68th filed.) On information and belief, these
144 Complaints were the only interaction with the Superior Court
by Defendant Leaders. Further on information and belief,
defendant Leaders Financial is exclusively a financing entity
for deep subprime automobile loans, virtually all of which are
governed by the RISA. Leaders Financial may be served at 21
Commerce Drive, Suite 191, Cranford, New Jersey 07016.

10. Leaders, Englishtown and Barakat shall collectively be
referred to herein as the “Creditor Defendants”.

FACTS

11. Ms. Mitchell agreed to purchase a specific car from
the Creditor Defendants. At the time of the purchase, Ms.
Mitchell paid a $1,000 down payment against the price of the
vehicle. This money was included in the calculation of the
Amount Financed as disclosed in the retail installment sales
contract executed between the parties. [Exhibit 2, page 2]

12. The car was purchased through a retail installment

sales contract for personal and consumer reasons and the cash
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 5 of 41 PagelD: 124

price of the vehicle was less than $10,000 and was subject to
the New Jersey Retail Installment Sales Act (“RISA”). NJS
17:16C-1, et seq. [Exhibit 2]

13. The contract for the purchase of the vehicle included
a ‘Doc Fee’ of $299.00.

14. The contract for the purchase of the vehicle also
included a ‘Motor Vehicle Fee’ of $185.00.

15. The above upcharge was included in the Amount Financed
so that Ms. Mitchell was required to repay that principal amount
and pay interest at a disclosed effective interest rate (APR) of
24.95% over 24 months.

16. The inclusion of the Doc Fee is not amongst the list
of permitted charges itemized in section 27 of the RISA and is
therefore prohibited from inclusion in any RISA covered
transaction. NJS 17:16C-27, 50, 54.

17. To the extent that the Motor Vehicle Fee is what was
actually paid to the State for purposes of transferring title,
registration and other State fees, the sums so paid may be

included in the transaction but may not be financed. NJS 17:16C-

 

1(l).
18. In other words, Ms. Mitchell may be required to repay
the lender (or creditor in the future who may take assignment of

the contract) the actual costs paid on her behalf to the State
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 6 of 41 PagelID: 125

of New Jersey, but the RISA prohibits a lender or creditor from
requiring Ms. Mitchell to pay interest on those sums. Id.

19. The inclusion of the Doc Fee in the contract and the
financing of both the Doc Fee and the Motor Vehicle Fee is
prohibited by relevant law. Further, the improper inclusion of
those amounts in the Amount Financed and Finance Charge
calculation caused the disclosed effective interest rate (APR)
to be fraudulently underdisclosed.

20. The discovery effective interest rate (APR) was
24.95%. When the improperly included charges and financing
costs are properly excluded from the transaction the actual
effective interest rate (APR) is 34.95%.

21. Nevertheless, Defendant PFR, at the instruction of the
Creditor Defendants, and specifically Leaders, filed suit to
collect against Ms. Mitchell.

22. In response, and as provided in the arbitration
agreement between the parties, Ms. Mitchell invoked her right to
arbitrate this dispute.

23. Ms. Mitchell also duly served a demand, pursuant to
her rights under Article Nine of the New Jersey Uniform
Commercial Code, for an accounting of her loan. Despite service
of same on November 7, 2018, Leaders did not respond to the

demand until December 7, 2018, two weeks beyond the 14 day

response period set by the UCC.
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 7 of 41 PagelID: 126

24. The parties thereafter stipulated to the dismissal of
the Special Civil Part Complaint and Ms. Mitchell duly commenced
arbitration proceedings.

25. Leaders refused to make payment to the American
Arbitration Association and on November 15, 2018, the American
Arbitration Association rejected Ms. Mitchell’s Complaint.

26. Thereafter, on November 27, 2018, by letter to the
Defendants PFR and Leaders, Ms. Mitchell put the PFW and Leaders
on notice that Leaders had refused to pay the required
Arbitration fees and that as a result the American Arbitration
Association had rejected the case.

27. Despite sufficient time having passed since delivery
of the letter, and in the face of the Defendants’ refusal to pay
the American Arbitration Association fees, Ms. Mitchell now
commences this litigation in the United Stages District Court,
District of New Jersey, for all claims, federal and state,
against the culpable defendants referenced above.

Count I

Violation of the Retail Installment Sales Act

 

NJS 17C-16-27, 50, 54;
28. The contract at issue is a Retail Installment Sales

Act [“RISA”] covered contract. NJS 17C:16-1, et seq.
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 8 of 41 PagelID: 127

29. The RISA covers all financing arrangements for the
purchase of non-commercial goods for which the cash price of the
good is less than $10,000.

30. This is a RISA covered retail installment contract
because the cash price of the vehicle being financed was less
than $10,000 and because the Plaintiff purchased the vehicle for
residential and personal purposes.

31. The RISA sets strict controls over what type and
amount of fees can be charged to consumers financing the
purchase of consumer goods that have a cash price of less than
$10,000.

32. Specifically, New Jersey law at sections 27, 50 and 54
of the RISA prohibit the charging of any Document Fee or the
Similar in connection with the sale of the covered good. NJS
17C-27, 50, 54

33. Despite prohibition of law, the contract at issue
includes the prohibited fee and included a fee of $199 in the
financing agreement at the stated APR of 24.95%.

34. As a result of the Creditor Defendants charging and
financing of the prohibited fee, Plaintiff has suffered harm
recoverable under section 54 of the RISA. NJS 17:16C-54

Count II

Violation of the Consumer Fraud Act

 

NJS 56:8-1, et seq.
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 9 of 41 PagelID: 128

35. The RISA is a consumer protection statute. As such, a
violation of the RISA is a violation of the Consumer Fraud Act.

NJS 56:8-19; Perez v. Rent-A-Center, 186 N.J. 188 (1996)

 

36. Consumer Fraud Act remedies are available to any
victim of unconscionable business practices which, per the New
Jersey Supreme Court, includes any business transaction which
violates any consumer protection statute:

Significantly - and contrary to the Appellate
Division majority’s conclusion - to establish a
violation of the Act a plaintiff need not prove
an unconscionable commercial practice. Rather,
the Act specifies the conduct that will amount to
an unlawful practice in the disjunctive, as “any
unconscionable commercial practice, deception,
fraud, false pretense, false promise,
misrepresentation, or the knowing [] concealment,
suppression, or omission of any material fac
***.” NJIS 56:8-2 []. Proof of any one of those
acts or omissions or of a violation of a
regulation will be sufficient to establish
unlawful conduct under the act.

Cox v. Sears Roebuck, 138 N.J. 2, 7 (1994)

 

37. The inclusion of the Doc Fee and the financing of the
Doc Fee and the Motor Vehicle Fee are both violations of the
RISA and its regulations.

38. The RISA shares its regulations with the Consumer
Financing Licensing Act (“CFLA”) and those regulations include
specific reference to the CFLA which, like the RISA section 27,
specifically forbids the charging of the Doc Fee:

Provisions applicable to all licensees:
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 10 of 41 PagelD: 129

NJAC

39.

a) No licensee shall charge an interest rate
that is in excess of the rate permitted by NJS
2C:21-19

 

 

b) No licensee shall charge any fee other than
those permitted by NJS 17:11C-33
¢)

3:17-8.1 [emphasis supplied]

The CFLA, at the section referenced in the regulations

above prohibits the charging of the Doc Fee:

17:11C-33 Additional charges prohibited on
consumer loans; violations

a. In addition to the interest herein provided
for on a consumer loan, no further or other
charge, or amount whatsoever for any examination,
service, brokerage, commission, expense, fee, or
bonus or other thing or otherwise shall be
directly or indirectly charged, contracted for,
or received, except for any amount actually paid
by a licensee to a public official for the
recording of a security interest in connection
with security given for the loan ...

 

 

 

 

 

NJS 17:11-33 [Emphasis added]

40.

The charging of the ‘Doc Fee’ and the financing of the

motor vehicle fee was inconsistent with the express terms of the

RISA and the regulations of the RISA.

41.

The inclusion and financing of the aforesaid fees was

an unconscionable business practice.

42.

As an unconscionable business practice associated with

the sale of a consumer good, the above conduct violates the New

Jersey Consumer Fraud Act.

10
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 11 of 41 PagelD: 130

43. As a result of the Creditor Defendants’ violation of
the RISA and the RISA regulations Plaintiff has suffered
ascertainable loss and damages.

Count IIit
Violation of the Truth in Consumer Contract, Warranty and Notice
Act
NJS 56:12-14, et seg.
(as to Creditor Defendants)

44. All of the foregoing acts by the Creditor Defendants
constitute violations of the Truth in Consumer Contract,
Warranty and Notice Act.

45. Pursuant to the Act, Plaintiff is entitled to damages
for actual harm suffered and a penalty of note less than $100
and also has the right to petition the Court to extinguish the
contract and for all reasonable counsel fees and costs.

46. As a result of the actions by the Creditor Defendants,
Plaintiff has suffered actual harm and ascertainable loss.

Count IV:
Violation of the Usury Statutes
(as to Creditor Defendants)
“The design of the statutes against
usury has been .. to prevent avarice
from preying upon necessity ..”. Charles

Borcherling’s ex’r v. Christina Trefz,
40 N.J. Eq. 502, 503 (Ch. 1885)

11
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 12 of 41 PagelID: 131

47. Plaintiff hereby adopts all prior allegations in this
Complaint as if set forth herein in full.

48. The civil usury rate in New Jersey is 16%. NJS 31:1-1

49. The criminal usury rate in New Jersey is 30%. NJS
2C:21-19

50. The stated effective interest rate (APR) on the
contract was 24.95%.

51. The New Jersey Supreme Court, in Perez v. Rent-A-
Center, 186 N.J. 188 (2006), specifically held that finance
agreements for the purchase of goods that imposed a time price
differential were governed by the usury laws of New Jersey.

52. The disclosed amount financed in the Retail
Installment Contract at issue was $5,690.00.

53. The disclosed effective interested rate (APR) was
24.95%.

54. The Finance Charge the contract required Ms. Mitchell
to pay is $1,594.96 and it requires that the payments be made
over 24 months in the amount of $303.54 per month.

55. Leaders sued Ms. Mitchell for nonpayment of the entire
amount, including all interest charges as though the loan had
gone the full 24 month term, less only payments she made on the
payment schedule and reduced by any insurance funds received.

56. The Amount Financed in the contract - stated at $5,690

- was inflated by the $299 illegally included ‘Doc Fee’.

12
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 13 of 41 PagelID: 132

57. The displayed effective interest rate was only 24.95%;
the actual effective interest rate (APR) was 34.60%, which is a
rate greater than permitted under New Jersey civil and criminal
usury statutes.

58. The Amount Financed in the contract, set at $5,690,
was illegally increased by the $299 ‘Doc Fee’ charged in the
contract.

59. When the illegal fee is removed from the calculations,
the correct Amount Financed is $5,281.

60. When the 24 month term and 24 equal monthly
installments of $303.54 imposed by the contract is used to
calculate the effective interest rate on the legal amounts to be
collected under the contract, the actual effective rate of
interest (APR) is revealed to be 34.60%.

61. This contract violates the civil and criminal usury
Statutes of the State of New Jersey.

Count V

Violation of Claimant’s Rights as a Collateralized Debt Adjuster

 

NJS 12A:9-210, 625(f)
(as to Creditor Defendants)
62. Pursuant to Plaintiff’s rights under NJS 12A:9-210, a
Request for Accounting was formally delivered to PFW as agent

for the Creditor Defendants on October 24, 2018.

13
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 14 of 41 PagelD: 133

63. Despite due notice, and despite a legal requirement to
respond within 14 days, the Creditor Defendants declinked to do
so in the time period set by statute.

64. As a result, Plaintiff is entitled to statutory
damages of $500. NJS 12A:9-625(f).

Count VI
Civil Conspiracy
(as to the Creditor Defendants)

65. The Creditor Defendants all together entered into an
agreement amongst one another for the purpose of fraudulent
selling used automobiles.

66. The intention behind the conspiracy and agreement was
to sell used automobiles with fraudulently inflated prices
beyond which were advertised and promised, and which included
charges imposed by the Creditor Defendants which were known to
be prohibited by New Jersey law.

67. In furtherance of this conspiracy, the Creditor
Defendants sold a vehicle to Ms. Mitchell and to others.

68. Each of these contracts included charges and fees
prohibited by New Jersey law.

69. On information and belief, these transactions also
included fraudulent inclusion of fees prohibited by relevant law

in the hope that the victim would not be in a financial position

14
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 15 of 41 PagelD: 134

to be able to defend the fraudulent charges, even after any
default on the loan agreement.

70. The conspiracy also included a class action waiver
built into every contract, along with a right to arbitrate which
the parties to the conspiracy never intended to honor.

71. As a result of the sale of the vehicle sold to Ms.
Mitchell, infected by fraud in furtherance of the conspiracy
amongst the Creditor Defendants, Ms. Mitchell has suffered harm.

Count VII

Violations of the Fair Debt Collection Practices Act

 

15 USC 1692, et seq.
(as to Defendant PFW)
72. As discussed above, Plaintiff allegedly incurred a
financial obligation (the “Debt”) to the Creditor Defendants.
73. The Debt arose from services provided by the Creditor
Defendants which were primarily for family, personal or
household purposes and which meet the defeinition of a “debt”
under 15 USC 1692a(5).
74. The Debt was purchased, assigned or transferred to PFW
for collection, or PFW was employed by the Creditor Defendants
to collect the Debt.

75. PEW (as discussed above) attempted to collect the Debt

through its improperly filed collected action at the direction

15
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 16 of 41 PagelD: 135

of the Creditor Defendants and, as such, engaged in
“communications” as defined in 15 USC 1692a(2).

76. The Plaintiff has suffered and continues to suffer
actual damages as a result of PFW’s unlawful conduct.

77. As a direct consequence of PFW’s acts, practices and
conduct, the Plaintiff suffered and continues to suffer from
humiliation, anger, anxiety, emotional distress, fear,
frustration and embarrassment as well as an inflated amount
asserted on her motor vehicle loan.

78. PFW's conduct violated 15 USC 1692e in that PFW
engaged in false, deceptive or misleading behavior in connection
with the collection of a debt and sought to collect more than
was legally owed resulting in a baseless collection lawsuit.

79. PFW’s conduct violated 15 USC 1692e(2) in that PFW
misrepresented the amount of the Debt owed by Plaintiff and
attempted to have Plaintiff pay more than the Debt owed to
Leaders Financial as discussed above.

80. PEW’s conduct violated 15 USC 1692e(5) in that PFW
threatened to take action against the Plaintiff which it could
not legally take or did not intend to take in collection of a
debt by filing the lawsuit to collect an amount that simply was

illegal to collect.

16
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 17 of 41 PagelD: 136

81. PFW’s conduct violated 15 USC 1692e(10) in that PFW
employed various false representations and deceptive means to
collect a debt.

82. PFW’s conduct violated 15 USC 1692f in that PFW used
unfair and unconscionable means to collect a debt and attempted
to humiliate and belittle plaintiff.

83. PEW’s conduct violated 15 USC 1692f(1) in that PFW
attempted to collect an amount not authorized by the agreement
between Plaintiff and the Creditor Defendants as discussed
above.

84. The foregoing acts and omissions of PFW constitute
numerous and multiple violations of the FDPCA, including every
one of the above-cited provisions.

85. Plaintiff is entitled to damages as a result of PFW’s
violations.

86. Plaintiff has been required to retain the undersigned
as counsel to protect her legal rights to prosecute this cause
of action and is therefore entitled to an award of reasonable
attorneys’ fees plus costs incurred.

WHEREFORE, Plaintiff demands the following relief as may
apply from each from each of the Defendants:

A. Damages, including credit damage;

B. For actual damages including but not limited to, the

emotional distress the Plaintiff has suffered (and

17
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 18 of 41 PagelID: 137

continues to suffer)

as a result of the intentional,

reckless and/or negligent FDCPA violations pursuant to 15

USC 1692k(a) (1);

C. For statutory damages of $1,000 pursuant to 15 USC

1692k(a) (2) (a);

D. Extinguishment of all obligations to pay any finance

charges;

E. Restitution;

F. Punitive Damages;
G. Treble Damages;

H. Statutory Penalties;

I. Extinguishment of the contract;

J. Attorney’s fees and costs as permitted under law;

K. All other relief, which the Court may impose.

Dated: June 10,

2019

DENBEAUX & DENBEAUX
/s/ Joshua W. Denbeaux

 

Joshua W. Denbeaux

NJ Bar #013871996

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/s/ David Krieger, Esq.

 

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18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 19 of 41 PagelD: 138

Exhibit 1
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 20 of 41 PagelD: 139

 

EXHIBIT 1:
LEADERS FINANCIAL COMPLAINTS FILED INCALENDAR YEAR 2018

1. Leaders Financial Co Vs Barnes Fredrica U | 10524 |
Essex | 18

2. Leaders Financial Co Vs Deoliveira Wladimir | 10525 |
Essex | 18

3. Leaders Financial Co Vs Lambert Reginald | 7785 |
Hudson | 18

4. Leaders Financial Co Vs Quijano Corrine A | 8063 |
Middlesex | 18

5. Leaders Financial Co Vs Crocker Jr Richard | 6201 |
Monmouth | 18

6. Leaders Financial Co Vs Galloway Janita | 6675 |
Ocean | 18

7. Leaders Financial Co Vs Rogers Paula A | 10584 |
Essex | 18

8. Leaders Financial Co Vs Hala lii Edward | 2091 |
Somerset | 18

9. Leaders Financial Co Vs Rodrigues Francisco | 7774 | |
Union | 18

10. Leaders Financial Co Vs Capriglione John | 10694 |
Essex | 18

11. Leaders Financial Co Vs Jackson Kyah | 10700 |
Essex | 18

12. Leaders Financial Co Vs Richardson JonathanB | 10703|
Essex | 18

13. Leaders Financial Co Vs Puckett Anthony J | 4299 |
Morris | 18

14. Leaders Financial Co Vs Henderson Travis R | 1975 |
Sussex | 18

15. Leaders Financial Co Vs Bartlett Brenden | 9655 |
Bergen | 18

16. Leaders Financial Co Vs Caswell Gregg M | 9697 |
Bergen | 18

17. Leaders Financial Co Vs Stewart Janielle | 10847 |

Essex | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 21 of 41 PagelD: 140

18. Leaders Financial Co Vs Novy Joanne E | 7005 |
Ocean | 18
19. Leaders Financial Co Vs Jackson Raymond L | 6683 |
Monmouth | 18
20. Leaders Financial Co Vs Vincent Ahmad S | 11639 |
Essex | 18
21. Leaders Financial Co Vs Dawsey Jennifer M | 11159 |
Essex | 18
22. Leaders Financial Co Vs Maldonado Rosemarie | 11208 |
Essex | 18
23. Leaders Financial Co Vs Hall Thomas L | 3909 |
Mercer | 18
24. Leaders Financial Co Vs Gobosack Martin A | 7156 |
Ocean | 18
25. Leaders Financial Co Vs Dessalines Lemuel | 3951 |
Mercer | 18
26. Leaders Financial Co Vs Lane Jr Tyrone | 8339| Union | 18
27. Leaders Financial Co Vs Bright Carol A | 4712|Morris | 18
28. Leaders Financial Co Vs Micius Wilson | 7303 | Union | 18
29. Leaders Financial Co Vs Mills Lechai A | 10282 |Essex | 18
30. Leaders Financial Co Vs Tabora Lester | 7633 |
Hudson | 18
31. Leaders Financial Co Vs Mcelvey Amy L | 840 |
Hunterdon | 18
32. Leaders Financial Co Vs Abusharia Yoseph | 7572 |
Union | 18
33. Leaders Financial Co Vs Stewart Tracy C | 1579 |
Union | 18
34. Leaders Financial Co Vs Reilly David | 4124 | Atlantic | 18
35. Leaders Financial Co Vs Carosella Carmine M | 7198 |
Camden | 18
36. Leaders Financial Co Vs Ogbuka Ebere C | 11689 |
Essex | 18
37. Leaders Financial Co Vs Monclova lv Stephen J | 7381 |
Ocean | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 22 of 41 PagelD: 141

38. Leaders Financial Co Vs Jackson Chawn E | 4143 |
Atlantic | 18

39. Leaders Financial Co Vs Gist Berta M | 4070|Mercer | 18

40. Leaders Financial Co Vs Earle Ellis A | 8616 | Union | 18

41. Leaders Financial Co Vs Santana Amber | 11906 |
Essex | 18

42. Leaders Financial Co Vs Grant Yonette | 11969 |
Essex | 18

43. Leaders Financial Co Vs Milton Jr Edgar W | 9171 |
Middlesex | 18

44. Leaders Financial Co Vs Pedrosa Zecheriah D | 9174 |
Middlesex | 18

45. Leaders Financial Co Vs Gabourel Ava A | 7584 |
Ocean | 18

46. Leaders Financial Co Vs Garcia Rosa C | 7585 |
Ocean | 18

47. Leaders Financial Co Vs Mclean Ebony L | 12042 |
Essex | 18

48. Leaders Financial Co Vs Efford Tawuana M | 8889 |
Union | 18

49. Leaders Financial Co Vs Lewis Jr Joseph | 8890 |
Union | 18

50. Leaders Financial Co Vs Oremus Cory J | 7870 |
Passaic | 18

51. Leaders Financial Co Vs Saint-Cyrus Ulysse | = 12423 |
Essex | 18

52. Leaders Financial Co Vs Walker Shameerah L | 12431 |
Essex | 18

53. Leaders Financial Co Vs Whaley Jason R | 9646 |
Middlesex | 18

54. Leaders Financial Co Vs Lokker Stephanie E | 7884 |
Ocean | 18

55. Leaders Financial Co Vs Termott Jr Kenneth J | 7886 |
Ocean | 18

56. Leaders Financial Co Vs Boghos Samie | 7939 |

Passaic | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 23 of 41 PagelD: 142

57. Leaders Financial Co Vs Allen Gregory | 9346 |
Hudson | 18

58. Leaders Financial Co Vs Pantoja Angelica | 7599 |
Monmouth | 18

59. Leaders Financial Co Vs Noronha-Davila Antonio | 4544 |
Atlantic | 18

60. Leaders Financial Co Vs Freschi Michael J | 11527 |
Bergen | 18

61. Leaders Financial Co Vs Abdul-Qadir Harun A | 12841 |
Essex | 18

62. Leaders Financial Co Vs Molzon Steven E | 4109 | Gloucester
| 18

63. Leaders Financial Co Vs Martinez Carlos A | 5248 |
Morris | 18

64. Leaders Financial Co Vs Morrison Toni M | 8270 |
Ocean | 18

65. Leaders Financial Co Vs Rinaldi Jr Peter M | 8274 |
Ocean | 18

66. Leaders Financial Co Vs Estevez Valentin | 9526 |
Union | 18

67. Leaders Financial Co Vs Kennedy Heyward | 13100 |
Essex | 18

68. Leaders Financial Co Vs Mithcell Kathleen | 4171 | Gloucester
| 18

69. Leaders Financial Co Vs Brown Joshua A | 9718 |
Union | 18

70. Leaders Financial Co Vs Monclova lv Stephen J | 8082 |
Monmouth | 18

71. Leaders Financial Co Vs Forbes Kerry A | 8088 |
Monmouth | 18

72. Leaders Financial Co Vs Gaston Adrienne D | 9910 |
Union | 18

73. Leaders Financial Co Vs Beckett Priscilla D | 6385 | Burlington
| 18

74. — Leaders Financial Co Vs Nova Fior | 10927 |
Middlesex | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 24 of 41 PagelD: 143

75. Leaders Financial Co Vs Ferrer Alexander | 9028 |
Ocean | 18
76. Leaders Financial Co Vs Maher Joanne | 9030 |
Ocean | 18
77. Leaders Financial Co Vs Alvira Yamileth | 9194] Passaic | 18
78. Leaders Financial Co Vs Cruz Delia Y | 14307|Essex | 18
79. Leaders Financial Co Vs Peyton Isaiah | 10622 |
Hudson | 18
80. Leaders Financial Co Vs Weathersbee MichaelA | 10638 |
Hudson | 18
81. Leaders Financial Co Vs Duda Michael | 10551 |
Union | 18
82. Leaders Financial Co Vs Gray Gaston L | 11303 |
Middlesex | 18
83. Leaders Financial Co Vs Caldwell Nassan S | 10629 |
Union | 18
84. Leaders Financial Co Vs Gutierrez Lionel | 10669 |
Union | 18
85. Leaders Financial Co Vs Mukoko-Kuku Taty E [| 11408 |
Middlesex | 18
86. Leaders Financial Co Vs Martinez Jose M | 9377 |
Ocean | 18
87. Leaders Financial Co Vs Mcdonald Ulysse C | 10763 |
Union | 18
88. Leaders Financial Co Vs Aponte Anitra L | 9649 |
Passaic | 18
89. Leaders Financial Co Vs Entzminger Darien C | 11079 |
Union | 18
90. Leaders Financial Co Vs Sanchez-Class Jose M | ~—- 11091 |
Union | 18
91. Leaders Financial Co Vs Gaba Mira | 13649|Bergen | 18
92. Leaders Financial Co Vs Fort Daniel J | 3049 | Cumberland
| 18
93. Leaders Financial Co Vs Plankanoski Vojde | 15195 |
Essex | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 25 of 41 PagelD: 144

94. Leaders Financial Co Vs Rosado Elizabeth | 11263 |
Hudson | 18

95. Leaders Financial Co Vs Balaam Aisha G | 11845 |
Middlesex | 18

96. Leaders Financial Co Vs Lyon David | 15296|Essex | 18

97. Leaders Financial Co Vs Berrios Nancy E | 15345 |
Essex | 18

98. Leaders Financial Co Vs Santos Wesley G | 13990 |
Bergen | 18

99. Leaders Financial Co Vs Risko Anthony | 9735 |
Ocean | 18

100. Leaders Financial Co Vs Rogers Michael J | 3807 |
Somerset | 18

101. Leaders Financial Co Vs Bayona-Garcia Rita E | 15921 |
Essex | 18

102. Leaders Financial Co Vs Pro Washingto | 6432 | Morris | 18

103. Leaders Financial Co Vs Quamina Shakeem S | 10175 |
Passaic | 18

104. Leaders Financial Co Vs Montero Rosa | 11580 |
Union | 18

105. Leaders Financial Co Vs Cordova Adriana | 11692 |
Union | 18

106. Leaders Financial Co Vs Sperazza Eric | 7660 | Burlington
| 18

107. Leaders Financial Co Vs Vecchio Denise A | 16713 |
Essex | 18

108. Leaders Financial Co Vs Harper Rachelle | 3451 | Cumberland
| 18

109. Leaders Financial Co Vs Rosario Jeancarlo | 13065 |
Middlesex | 18

110. Leaders Financial Co Vs Williams Tawanda D | 13087 |
Middlesex | 18

111. Leaders Financial Co Vs Espaillat Roddie | 13560 |
Middlesex | 18

112. Leaders Financial Co Vs Zahara Richard | 10427 |

Monmouth | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 26 of 41 PagelD: 145

113. Leaders Financial Co Vs Diaz Leticia | 6616|Morris | 18

114. Leaders Financial Co Vs Pearson Dana N | 6727 |
Morris | 18

115. Leaders Financial Co Vs Hartley John P | 10444 |
Ocean | 18

116. Leaders Financial Co Vs Termott Kimberly A | 10458 |
Ocean | 18

117. Leaders Financial Co Vs Wilder Tawana | 10575 |
Passaic | 18

118. Leaders Financial Co Vs Silaire Gerald | 12296] Union | 18

119. Leaders Financial Co Vs Brand Melissa A | 1806 |
Warren | 18

120. Leaders Financial Co Vs Polanco-Herrera Deivy | 17549]
Essex | 18

121. Leaders Financial Co Vs Costa Johnny | 13052 |
Hudson | 18

122. Leaders Financial Co Vs Sanchez Devyn | 13847 |
Middlesex | 18

123. Leaders Financial Co Vs Nagy Anthony L | 11289 |
Ocean | 18

124. Leaders Financial Co Vs Carver David {| 11349 |
Ocean | 18

125. Leaders Financial Co Vs Olveras Kimberly | 13120 |
Union | 18

126. Leaders Financial Co Vs Lowry Kimberly M | 1959 |
Warren | 18

127. Leaders Financial Co Vs Reilly Lisa | 7662|Morris | 18

128. Leaders Financial Co Vs Margeotes Sharon M | 123514 |
Ocean | 18

129. Leaders Financial Co Vs Turner Jr Arthur | 19494 |
Essex | 18

130. Leaders Financial Co Vs Crisler Tamena J | 6741 |
Mercer | 18

131. Leaders Financial Co Vs Graham Raymond {| 15185 |
Middlesex | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 27 of 41 PagelD: 146

132. Leaders Financial Co Vs Aleaga Patricia | 14308 |
Hudson | 18

133. Leaders Financial Co Vs Bayham Charles | 12466 |
Ocean | 18

134. Leaders Financial Co Vs Irwin Margaret | 4854 |
Somerset | 18

135. Leaders Financial Co Vs Tillman Khalil T | 14468|Union | 18

136. Leaders Financial Co Vs Wilson Charlie M | 6869 |
Atlantic | 18

137. Leaders Financial Co Vs Pierre-Jules Wisbertha | 19761 |
Essex | 18

138. Leaders Financial Co Vs Civale Melissa D | 12641 |
Ocean | 18

139. Leaders Financial Co Vs Oritz Jeffery J | 12667| Ocean | 18

140. Leaders Financial Co Vs Morales-Castro JoseG | 14487]
Union | 18

141. Leaders Financial Co Vs Lewis Chakira | 20144 |
Essex | 18

142. Leaders Financial Co Vs Kearny Kayla D | 12996 |
Ocean | 18

143. Leaders Financial Co Vs Guenther John R | 7430 |
Atlantic | 18

144. Leaders Financial Co Vs Campos Santiago Estephani| 19594 |
Bergen | 18
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 28 of 41 PagelD: 147

Exhibit 2
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 29 of 41 PagelD: 148

GLO-DC-004171-18 07/18/2018 10:21:28 AM Pg 1 of 10 Trans ID: SCP20181592296

Christopher P. Odogbili - 003092004
Pressler, Felt ¢ Warshaw, LLP

7 Entin Rd.

Parsippany, NJ 07054-5020
1-973-753-5100

Attorney for Plaintiff

File # M358489~A

LEADERS FINANCIAL COMPANY ASSIGNEE OF

ENGLISHTOWN AUTO SLS D/B/A WOODBURY TRUCK CTR

Plaintiff

vs.

SUPERIOR COURT OF NEW JERSEY
Law Division

GLOUCESTER Special Civil Part
Docket #

KATHLEEN E MITHCELL A/K/A KATHLEEN MITCHELL

WILLIE DUKES
Defendant(s)

Civil Action
COMPLAINT
(Contract)

 

Plaintiff having
CRANFORD, NJ 07016 says:

1. On April 23, 2016, the
ENGLISHTOWN AUTO sLs D/B/A

went into default with a balance of

a principal place of business at:

Plaintiff,
WOODBURY TRUCK CTR,
retail installment sale contract, having the last four numbers

21 COMMERCE DR 1ST FL

LEADERS FINANCIAL COMPANY ASSIGNEE OF
entered into the attached
2133 which

$1,114.86.

2. Plaintiff, LEADERS FINANCIAL COMPANY ASSIGNEE OF ENGLISHTOWN AUTO SLS
D/B/A WOODBURY TRUCK CTR, alleges that the Defendants, KATHLEEN E MITHCELL

A/K/A KATHLEEN MITCHELL and

four numbers 2133,
digits 995 and 575,

and has a social

WHEREFORE, Plaintiff demands judgment on both KATHLEEN &

WILLIE DUKES,
attached retail installment sale contract

are the people who signed the
for the account having the last
security number with the last three

MITHCELL A/K/A

KATHLEEN MITCHELL and WILLIE DUKES for $1,114.86 plus costs.

I certify that the matter in controversy is not the subject
proceeding, now pending or
be joined in this action.

court action or arbitration
that no other parties should

I certify that confidential personal identifiers have
court,
in accordance with Rule 1:38-7(b).

documents now submitted to the
documents submitted in the future

(X]
{ ]

{ ]
[ J

of any other
contemplated, and

been redacted from

and will be redacted from all

PRESSLER, FELT & WARSHAW, LLP
Attorneys for Plaintiff(s)

By:_S/ Christopher P. Odogbili
Christopher P. Odogbili

By:

 

Tan 2. Winograd
By:

 

Mariam Fatima
By:
Stephen E. Lundy
By:

 

 

Theologia Papadelias
 

Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 30 of 41 PagelD: 149

 

ATSSER,
GLO-DC-004171-18 07/18/2018 10:21:28 AM Pg 2 of 10 Trans ID: SCP2018 1592296

account. =a DATE: 3/21/18

PLAINTIFF: LEADERS FINANCIAL COMPANY 21 Commerce Drive Cranford NJ 07016

DEFENDANTS: KATHLEEN E MITCHELL

536 WOODBURY LAKE DR WOODBURY, NJ 08096
C/M i WILLIE DUKES
C/M: 424 PEACH STREET VINELAND, NJ 08360

DATE OF DEFAULT; 10/24/17 DATE OF REPOSSESSION:

DATE NOTICE SENT: DATE NOTICES POSTED:

PLACES NOTICES POSTED:

 

 

DATE OF NEWSPAPER AFFDT: DATE OF SALE;
NAME OF PURCHASER:
TEC IGG IO ICICI OID AICO II IORI I OI HOR SOR IOR IE ok ak

DEFAULT SUIT_*__ DEFICIENCY SUIT
SOO RO om GO oR oi ao GOI OR OR a kok dak de GR ick cok

DDITIONAL CHARGES

 

 

AMOUNT OF NOTE....cccccsseceecss $5690.00 LATE CHARGES......... $ 160.00
PAID [N.vescsesssesessscacsccsssseseseceensace $3788.54 REPOSSESSION FEES,$
BALANCE... cssssssscsccsssarseceseessssers $¢ 1901.46 TITLE FEES... cece $
BALANCE PLUS CHARGES.......$. 2061.46 STORAGE FEES.......... $
TOTAL CREDITS ..u..ccscscccscsssnves .$ 2560.01 AUCTION FEES... $
BALANCE LESS CREDITG.........$-498.55 TRANSPORT FEES.......$
FINANCE CHARGE! __... $1613.41 COLLATERAL PROTECTION INS......$
BALANCE .......sccscsssssscscssesssesesscssse $1114.86 OTHER FEES........$

TOTAL CHARGES....,.$ 160.00

 

PER DIEM = $ CREDITS
PER DIEM STARTING ON: SALE OF THE CAR.......... $
ATTORNEY'S FEES... cesses $ INSURANCE PAYMENTS$ 2950.01
TOTAL SUIT. .occ..ccccsectccscesnseecees $ OTHER....cccssseseeseserees$

COLLATERAL PROTECTION INS REBATE.$
TOTAL CREDITS........ ¢ 2560.01

Ate

MA

 
 

Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 31 of 41 PagelD: 150

 

GLO-DC-004171-18 07/18/2078 10-21 ‘28 AM Pg 3 of 10 Trans ID: SCP20181592006

 

NJ-103-ARB 10/31/2010
Retail Installment Contract and Security Agreement
Seller Name and Address Buyer(s) Nama(s} and Address(es} Summary
ENGLISHTOWN AUTO SLS d/b/a KATHLEEN E MITCHEN No,
223 SALEM Poses WILLIE DUKES Date 4/23/2016

536 WOCDBURY LAKE DR

WOODBURY, NJ 08096 NOODBURY, Nd 08096

Ct] Business, commercial or agricultural purpose Contract.

 
  

  
   

Truth-In-Lending Disclosure

     
 

  
   
    
 

 

 

preatleenae

Total of Paymen

  
   
 
   
 

     

Finance Charge Amount Financed

    
   
  
 

   
 
    
 
 
 

   
 

   
 

  

 

 

 

 

 

 

 

Annual Percentage Rate Total Sale Price
The cast of your credit as a The dollar amount the The amount of cresit The amount you will have The (otal cost of your
yearly rate. credit will cost you. provided to you or on your { paid when you have made purchase on credit,
behaif, all scheduled payments. including your down
payment of
§ 1,000.00
24.95% 9 $ 1,594.96 $ 5,699.00 $ 7,284.96 § 8,284.96
Payment Schedtile. Your payment schedule Is:
No. of Amount of Payments When Payments are Due
Payments :
23 $ 303.54 Monthly Beginning 5/23/2016 !
1 § 303.54 Thru Maturity of 4/23/2016
$

 

Security. You are giving us a security interest in the Property purchased,

Late Charge. Ifa payment is more than 10 days late, you will be charged 5% of the unpaid amount of the Payment due, except that i the Property
is primarily for personal, family, or household use and the cash price is $10,000 or less the charge for late payment will be $10.

Propayment. If you pay off this Contract early, you will not have to pay a penally,

Contract Provisions. You can see the ferms of this Contract for any additional information about nonpayment, defaull, any required repayment
before the scheduled date, and prepayment refunds and penaliies,

 

 

Description of Property
Year Vehicle Identification Number

 
 
   
 

    
  

  

Odomeler Mileage
136,478

 

 

 

 

 

 

 

 

Other.
N/A
irTls] lye Rey iy rete Tn Conditional Delivery
N/A C] Conditional Delivery. if checked, you agree that the following
‘ agreement regarding:sacuring financing (“Agreement’ applies:
The Agreement is pait of this Contract. The Agreement willno longer
control after the assignment is accepted. If there are any conflicts
between the terms ofthe Agreement and the Contract, the lerms of this
Contract will apply.
Bane alimans Sonteact-NJ Not for use in tanzacvons aacutnd by a dwelling, LA Ssamrnas lay VIOG

Wolters Kiuwer Financial Sanicas © 189. 2010 i \ . Fagot at?

 
 

Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 32 of 41 PagelD: 151

 

GLO-DC-004171-18 07/18/2018 10.21.08 AM Pg 4 of 10 Trans ID: SCP2018159296

Toe Tele tty

Payment. You promise to pay us the principal amount af
$5,690.00 plus the time price differential accruing

on the unpaid balance al the rate of 24.95 % per year {ram
the date of this Contract unt maturity. Afler maturity, or after you
default and we demand payment, we will earn the time price differential
on the unpaid balance ai 24.55 % per year. Time price
differential acctues on a Actual/365 day basis. You agree
{0 pay this Contract according {a the payment schedule and late charge
provisions shown In the Truth-In-Lending Disclosure. You also agree to

pay any additional amounts according to the tarms and conditions of
this Contract.

[This area intentionally loft blank. }

Hemization of Amount Financed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a, Cash Price of Vehicle 5 5,800.00,
b, Trade-In allowance N/A
¢. Less: Amount owing, paid to (includes hy:

N/A $ ES
d, Net Trade-In (b-c; if negative, enfer $0
here and enter the amount on line {} 3 0.90
e.Cash payment + $ 2,000.00
{, Manufacturers rebate N/A
q. Other down payment (descrihe)

§ N/A

h. Down Payment (dte+f+g) § 2,000.00
i. Adjusted Cash Prieg (a-h) $ 4,800.00
|. Sales Tax (reduced as required due lo
value of like trade-in) Ss 406.00
k, Unpald balance of Gash Price {it}) $ S 206.00
|. Financed trade-in belance (see line 3) $ 0.00
m, Paid to public officials - filing fees $ N/A
n. Paid to public officials - supplemental title
fee $ N/A
©. Paid lo public officlals - other than filing fee $ N/A
p. Insurance premiums paid to insurance
company(ies) : $ N/A
q. Service Contract, paid to:
N/A : $ N/K
'. Motor Vehicle Fee S 185.60
8. Doc Fee s 259.060
L_N/A 5 N/A
UN/A $ N/A
v. N/A § N/A
W.N/A 5 N/A
xX N/A $ R/A
y. N/A $ N/A
2, Total Other Charges/Amts Paid (Ithruy)  § 484.00
aa. Principal Balance (k+z) S 5,69C.00,
bb. Time Price Differential s 1,594.96
ce. Time Balance (aa+bb) s 7, 284,96
dd. Prepaid Finance Charge S K/A
e. Amount Financed (k+z-dd) 5 5,630.00

ff. Time Sate Price (h+cc} 3 8,284.96
eeeernnneennnnrient rain nay
We may retain or receive a portion of any amounts paid to others,

Insurance Disclosures

Credit Insurance. Credil life insurance pays all or part of the amount
you owe under this Cantract if you die. This insurance pays only the
amount you would awe if you paid all your payments on lime, Credit
disabiltity pays all or part of the payments due under this Contract while

 

you are disabled. This insurance does nol cover
payment or in the number of payments, See the

any increase in your
policies of certificates

from the named Insurance companies for the delails of the coverage

these types of insurance provide, and far other {
Credit tife and credit disability (accident and hea

erms and conditions.
Ith) are not required to

 

Relat inetolimant Contraes-Ay Not for use in tarsactions exeured by m dwelling,
ftankers Systema
Viokars Khawer Pnancial Services © 1995, 2019

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Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 33 of 41 PagelD: 152

 

GLO-DC-004171-18 07/18/2018 10:21.28 AM Pg 5 of 10 Trans ID: SCP20181592296

‘obtain credit and are not a factor in the credit decision. We will not
provide them unlass you sign and agree to pay the additional premium,
If you want such insurance, we will obtain iMor you (if you qualify for
‘coverage). We are quoting below only the coverages you have chosen
to purchase,

Credit Life

(]single (Woint fx]None
Premium $ N/a

Insured N/A

Credit Disability

TT] Single [JJoint [X] None
Premium $ N/A

Insured N/A

Your signature belaw means you want (anly) the Insurance covarage(s)
quoled above, If “None” is checked, you have declined the coverage we
offered.

Term N/A

Term N/A

 

 

 

 

By: BOB
By: 008
By: DOB

Property Insurance. You must insure the Properly, You may purchase
of provide the insurance through any insurance company reasonably
acceptablo {o us. The collision coverage deductibla may not exceed

 

S N/A ; !V you get insurance from or through us
you will payS N/A for
A 5
N/A of coverage.

 

This premium is calculated as follows:

C] $ N/a Deductible, Collision Cov. $ N/A

LC] § N/A Deductible, Comp. Cov, ¢ N/A

() Fire-Theft and Combined Additlonal Cov. § N/A

(J N/A S$ N/A

THIS DOES NOT INCLUDE INSURANCE ON YOUR LIABILITY FOR
BODILY INJURY OR PROPERTY DAMAGE, WITHOUT SUCH

INSURANCE, YOU MAY NOT OPERATE THIS VEHICLE ON PUBLIC
HIGHWAYS.

Single-interest Insurance. You must purchase single-interest
insurance as part of this sale transaction. You may purchase the
coverage from a company of your choice, reasonably acceptable to us,
If you buy the Coverage from or through us, you will pay

S N/A for N/A of coverage,

Rejection of Arbitration

Checking the following box will not affect the terms under which we will
finance and sell the Properly or any of the terms of this Contract, except
thal the arbitration provision will nol be a part of this Contract:

[Hou reject the apitration provision of this Contract.

Additional Protections

You may buy any of the following voluntary protection plans. They
are nat required to obtain credit, ara not a factor in the credit
declsion, and are not a factor In the terms of the credit or the
related safe of the Vehicle. The voluntary protections will not be
provided unless you sign and agree to pay the additional cost,

Your signature balow means that you want the deserlbed lem and thal
you have received and reviewed a copy of tha contract(s} for the
product(s). ff no coverage ar charge is given for an item, you have
declined any such coverage we offered.

Q Service Contract

 

 

 

 

 

 

 

 

 

 

Term N/A

Price $ N/A

Coverage N/A

(J) Gap Waiver or Gap Coverage

Term - N/A

Price $ N/A

Coverage N/A

C] n/a

Term i M/A

Price : $ RJA _

Coverage N/A

By: ‘ Date
By: Date
By: Date

Additional Terms of the Sales Agreement

Definitions, “Contract” refers to this Retait Installment Contract and
Security Agreement, The pronouns “you” and “your” refer to each Buyer
signing this Contract, and any quarantors, jointly and individually. The
pronouns “wo”, "us" and “our"refar to the Seller and any entity to which
it may transfer this Contract. *Vehicla” means each motor vehicle
described in the Description of Properly section, ‘Property‘means the

 

Hetad Instolimant Contrecttts Nol (or ute in vansachons secured by 3 dwatking.
Banker, Systerns
Wolters Kluwer Financial Servicas © 405, 2010

 

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Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 34 of 41 PagelD: 153

 

GLO-DC-004171-18 07/18/2018 10-21-28 AM Pg 6 of 10 Trans ID: SCP201815922906

Vehicle and all other property described in the Description of Property
and Additional Protections sections,

Purchase of Property, You agree io purchase the Properly from us,
subject lo the terms and conditions of this Contract. Seller will not make
any repairs or additions to the Vehicle except as noted in tha
Description of Property section.

You have been given the opportunity to purchase the Property and
described services for the Cash Price of the Total Sale Price, The
“Total Sale Price" is the total price of the Property if you buy it over time,

General Terms. The Total Sale Price shawn in the Truth-In-Longing
Disclosure assumes that all Payments will be made as scheduled. The
actual amount you will pay will be more if you pay lale and fess if you
pay early.

We do nol intend {o charge or collect, and you do nol agree lo pay, any
time price differential or fee that is more than the maximum amount
Permitted for (his sale by state or federal law. Ifyou pay a time price
differential or fee that exceeds that Maximum amount, we will first apply
the excess amount to reduce the principal balance and, when the
principal has been paid in full, refund any remaining amount to you.

You understand and agree that some payments to third parties as a
fart af this Contract may involve monay retainad by us or pald back to
Us as commissions ot olher remuneration.

Yau agree thal the Property will not be used as a dwelling.

Prepayment, You may Prepay this Contract in (uli ar in part al any time
without penalty. Any partial prepayment will not excuse any later
scheduled payments. If we get a refund of any unearned Insurance
premiums that yau paid, you agree thal we may subtract the refund
from the amount you owe, unless otherwise provided by law.

Returned Payment Charge. If you make any payment required by this
Coniract that is retumed uncollected due to insufficient funds in your
accauni, you agree to pay a fee of $20.

Governing Law and Interpretation. This Contractis governed by the
law of New Jersey and applicable federal law and regulations.

if any section of provision of this Contract is not enforceable, the other
{erms vill remain part of this Contract. You aulhorize us to correct any
clerical error or amissions in this Contract or in any related document,

Name and Location, Your name and address sel forth in this Contract
are your exact legal name and your principal residence. You will

provide us with at least 30 days nolice before you change your name or
principal residence,

Telephone Monitoring and Calling. From time to time you agree we
may monitor and record telephone calls made ar received by us or aur
agents regarding your account to assure the quality of our service. in
order for us to service the account or ta collect any amounts you may
owe, and subject lo applicable law, you agree thal we may from time lo
lime make calls and send text massages to you using prerecorded!
artificial voice messages or through the use of an automatic dialing
device at any telephone number you provide to Us in connection with
your account, including a mobile telephone number that could result in
charges to you.

Default. You will be in default on this Contract (exceal as prohibiled by
law) if you fail to perform any obligation that you have undertaken in this
Contract,

ifthe Proporty is primarily for personal, family, or household use, and
the cash price is $10,000 or less, if you defaull you agree to pay

 

attomeys' tecs of 20% of the first $500 and 10% on any excess of the
amount due and payable under this Contract, if referred lor collection to
an altomey not a salaried employee of ours. For other lansactions, if
we hire an attorney who is nat a salaried employee ta collect what you
ows, you Will pay the ‘atlorney's reasonable fee and courl costs the law
permits,

if an event of default occurs as to any of you, we may exercise our
remedies agains! any or all of you.

Remedies. If you are!in default on this Contac, we have all of the
remedies provided by law and this Contract, Those remedies include:

@ We may raquire you to immediataly pay us, subject to any refund
required by law, the remaining unpaid balance of the amount
financed, lime price differential and all other agreed charges.

@ We may pay taxes, assessments, or other liens or make repairs ln
the Property if you have not done so. We are nol required to do so.
You wil repay us that amount immediately. That amount will earn
the time price differential from the date we pay it al the contract
rale described in the Payment section until paid in full.

@ We may require you to make the Property available to us at a place
we designate thal is reasonably convenient: fo you and us,

@ We may immediately take possession of the Property by legal
process or self-help, bul in doing so we may not breach the peace
or unlawfully enter onto your premises,

@ We may then sell the Property and apply whal we teceive as
provided by law to our reasonable expenses and then toward what
youoweus, ¢

@ We may, as allowed by law, sue you for additional amounts if the
Proceeds of a sale do nat pay all of the amounts you owe us.

By choosing any one or more of these remadies, we do not give up our
night ta later use another temedy, By deciding not to use any remedy,
wa do not give up our right to consider the event a default if it happens
again.

You agree that If any notice Is required fo be given to you of an
intended sale or transfer of the Property, noilce is reasonable if mailed
to your last known address, as reflected in our tecards, alleast 10 days
before the dale of the intended sale or transfer (or such other period of

limo as Is required bylaw).

You agree thal we may take possession of personal property left in or
on the Property securing this Contract and taken into possession as
provided above. You may have a righl to recover that property.

I{ the Property has ancelectronic tracking device, you agree that we may
use the device to find the vehicle.

Obligations independent. Each Person who signs this Contract
agrees to pay this Contract according to its tarms. This means the
following:
® You must pay this Contract even if sameone else has also signed
it
@ We may release any co-buyer or guatantar ard you vill stil be
obligated to pay this Contract.
@ We may release any Security and you will still be obligated (0 pay
this Contract. .
@ iftwe give up any:of our rights, it will not affect your duty to pay this
Contract,
@ Ifwe extend nevecredit or renew this Contract, it will not affect your
duty to pay this Contract.

Warranty, Warranty information is provided to you separately,

 

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Worlers Kiower Financial Servicas © 1985, 2013

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Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 35 of 41 PagelD: 154

 

GLO-DC-004171-18 07/18/2018 10:21:28 AM Pg 7 of 10 Trans ID: SCP20181592296

STA hy

Security, To secure your Payment and performance under the terms of
‘this Contract, you give us a Security interest in the Vehicle, all
accessions, allachments, accessories, and equipment placed in or on
the Vehicle and in all other Properly. You also assign to us and give us
a security interest in proceeds and premium refunds of any insurance
and service contracts purchased with this Contract,

Dutles Toward Property. By giving us a security interest in the
Property, you represent and agree to the following:

@ You will defend our interests in the Property against claims made
by anyone else. You will keep our claim to the Property ahead of
the claim of anyone else. You will nol do anything to change our
inlerest in the Property.

@ You will keep the Property in your possession and in good
candilion and repair. You will usa the Properly for its intended and
lawful purposes.

@ You agree not to remove the Property from the U.S. without our
prior written consent.

@ You wil not attempt to sell the Property, trans‘er any rights in the
Property, or grant another lien on the Property without our prior
wrilten consent.

® You will pay all taxas and assessments on lhe Property as they
become due.

@ You will notify us with reasonable Promptness of any loss or
damage lo the Property,

® You will provide us reasonable access fo the Property for the
purpose of inspecllon. Our entry and Inspection must be
accomplished lawfully, and without breaching the peace,

Agreement to Provide Insurance, You agree to Provide property
insurance on the Property protecting against loss and physical damage
and subject to a maximum deductible amount indicated in the Insurance
Disclosures section, or as we will otherwise require. You will name us
as loss payee on any such policy. Generally, the loss payee is the one
to be paid the policy benefits in case of loss or damage to the Property,
In the event of loss ar damage to the Properly, we may require
addifional security or assurances of payment before we allow insurance
proceeds to be used to repalr or replace the Property. You agree that if
the insurance proceeds do not caver the amaunts you still owe us, you
will pay the difference, You wil keep the insurance in full force and
effect until this Contract is paid in full.

lf you fail to obtain or maintain this insurance, or name us as foss
payee, we may obtain insurance to protect our interest in the Property.
This insurance may be written bya company other than one you would
choose. II may be written ata rate higher than a rate you coutd obtain if
you purchased the property insurance required by this Contract. We vill
add the premium for this insurance to the amount you owe us, This
amount will eam the time price differential from the date paid at the
contract rate described in the Paymant section until paid in full,

Gap Waiver or Gap Coverage. In the event of heft or damage to the
Vehicle that results in a total loss, there may be a gap between the
mount due under the terms of the Contract and the proceeds of your
insurance settlement and deductibles. You are liable for this difference.
You have the option of purchasing Gap Waiver or Gap Coverage to
cover the gap liabilily, subject to any conditions and exclusions in the
Gap Waiver or Gap Coverage agreements.

 

Arbitration Provision

Arltration Provision, PLEASE READ CAREFULLY! By agreeing to
this arbitration provision you are giving up your right to go to
court for claims and disputes arising from this Contract:

@ EITHER YOU OR WE MAY CHOOSE TO HAVE ANY DISPUTE

BETWEEN YOU AND US DECIDED BY ARBITRATION, AND

NOT BY A COURT OR BY JURY TRIAL.

® YOU GIVE UP ANY RIGHT THAT YOU MAY HAVE TO

PARTICIPATE AS A CLASS REPRESENTATIVE OR CLASS
MEMBER IN ANY CLASS ACTION OR CLASS ARBITRATION
AGAINST US IF A DISPUTE IS ARBITRATED.

@ IN ARBITRATION, DISCOVERY AND RIGHTS TO APPEAL ARE

GENERALLY MORE LIMITED THAN IN A JUDICIAL
PROCEEDING, AND OTHER RIGHTS THAT YOU WOULD HAVE
IN COURT MAY. NOT BE AVAILABLE.

You or we (including any assignee) may elect to resolve any Claim by
neutral, binding arbilration and not dy a courl action. “Claim” means any

claim, dispute or controversy between you and us or our employees,
agents, successors, assigns or affiliates arising from ar relating to:

Penna

6.

the credit application;

the purchase ofthe Properly:
the condition of the Property;
this Contract;

any insurance, maintenance, service or other Contracts you
purchased in connection with this Contract: or
any related transaction, occurrence or relationship.

This includes any Claim based an commen or constitutional law,

Contract, tort, stalute, ‘regulation, or other ground. To the exlent allowed
by law, the validity, scope, and interpretation of this arbitration provision
are lo be decided by neutral, binding arbitration,

if either party elects to resolve a Claim through arbitration, you and we
agree that no trial by jury or other judicial proceeding will take place,
Rather, the Claim will ba arbitrated on an Individual basis, and not ona
class or representative basis.

The party electing arbitration may choose any of the following
arbitration organizations and its applicable rules, provided itis willing
and able to handle the arbitration: American Arbitration Association,
1633 Broadway, Floor 10, New York, NY 10019 (www.adt.org): JAMS,
1920 Main Street, Suite 300, Irvine CA 92614 (www jamsadr.com): or
National Arbitration and Mediation (NAM), 990 Stewart Ave, Garden
City, NY 11530 (wawenamadr.com). You may get a copy of the
applicable rules of thése organizations by contacting them or visiting
their websites. ft tho chosen arbitration organization's rules conflict with
this arbitration provision, then the terms of this arbitration provision will
govern the Claim. If none of these arbitration organizations is willing or
able to handle the arbitration, the arbitratar can be selected pursuant to
9 U.S.C. Sections § and 6.

The arbitration hearing will be cartled out in the federal distict where
you reside, unless you and we olherwise agree. Or, if you and we
consenl, the arbitration hearing can be by telephone. In connection with
any arbitration, if you so request, we shall advance your filing,
administration, service or case management fee, and your arbitrator or
hearing fee, up to a total of $2,500.00. Unless the arbitrator awards
them to @ party, each party is responsible for the fees of ifs attorneys,
experts, witnesses, and any alher fees or costs, including ary amount
we have advanced,

 

Reta instalment Gortrect-NJ Nat (or use ie transuctions secured by n dwelling.
Bankats Syatemat™
‘Notlers Kluwer Finanset Satvices © 1995, 2010

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Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 36 of 41 PagelD: 155

 

GLO-DC-004171-18 07/18/2018 10-21-28 AM Pg 8 of 10 Trans ID: SCP20181592296

An arbittator must be a lawyer with at feast ten (10) years experience
and familiar with consumer credit law or a retired stale or federal court
judye. Except as provided below, the arbitration will be by a single
‘arbitrator, in making an award, an arbitrator shall follow goveming
substantive law and any applicable statute of imllations, The arbitrator
will decide any dispute regarding the arbitrabifity of a Claim, An
arbitrator has the authority {0 order specific performance, compensalory
damages, punitive damages, and any other ralief allowed by applicable
law, An arbitrators aulhotity to make awards is limited {o awards fo you
or us alone. Furthermore, Claims brought by you against us, or by us
against you, may not be joined or consolidated in arbitration With claims
brought by or against someone ather than you, unless agreed to in
writing by all parties. No arbitration award or decision will have any
preclusive effect as to issues or claims in any dispute with anyone who
is not a named party to the arbitration,

Any arbllration award shall be in writing, shall include a written
reasoned opinion, and will be final and binding subject only to any fight
lo appeal under the Federal Arbitration Act (FAA), 9 U.S.C, Sections
1, ef seq,, except that (i) if'a single arbitrator awards you less than
$5,000 yau shail be entilled, upon request made within 20 days fier
the entry of that award, to have the award set aside and the Claim
rearbitrated by a panel of three arbitrators, and (ii) if the single arbitrator
awards you more than $100,000 we shall be entitled, upon fequest
made within 20 days after the entry of thal award, to have the award set
aside and the Claim rearbitrated by a panel of three arbitrators, The
parly requesting such rearbitration will be required fo pay tho filing,
administration, service or case Management fee and the arbitrators and
hearing fee, subject ta final determination by the arbitration panel, Any
court having jurisdiction can enforce a final arbitration award.

You or we can do the following without giving up the Fight to require
arbitration:

® Seek remedies in small claims court for Claims within the small
claims court's Jurisdiction, or

@ Seak judicial provisional remedies,

Ifa party does not exercise the right lo elect arbliration in connection
with any particular Claim, that party still can require arbitration in
conneclion with any other Claim.

This arbitration provision survives any (i) termination, payoff,
assignment or transfer of this Contract, (ii) any legal proceeding by you
or us {0 collect a debt owed by the other, and (fii) any bankruptcy
proceeding in which you or we are the debtor. Wilh but one exception, if
any part of this arbitration provision Is deemed or found to be
unenforceable for any reason, the remainder of this arbitration provision
will remain in full force and effect. The one exception is that, ifa finding
of partial unenforceability would allow arbitration to proceed un a class-
wide basis then this arbitration Provision will be unenforceable in ils
enlirely.

You and we expressly agree that this arbitration provision Is governed
by the FAA to the exclusion of any different or inconsistent state ar local
law,

By signing this Contract you are agreeing to the terms of this
athitration provision, unless You reject it as provided in the next
paragraph,

 

Caution: It is important that you read this arbitration provision
thoroughly before you sign this Contract. By signing this Contract,
you are acknowledging that you have read and understand this
arbitration provision, If you do not understand something In this
arbitration provision, do not sign this Contract: Instead ask your
lawyer, You can rejéct this arbitration provision by checking the
box In the Rejection of Arbitration section of this Contract before
you sign this Contract. If you do so, this arbitration provision will
not be a part of this!Contract, but all the rest of this Contract will
continue to be binding and effective,

Note. If the primary use of the Vehicle is non-consumer, this Is not
a consumer contract, and the following notice does not apply.
NOTICE. ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT
IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH THE
DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR
SERVICES OBTAINED PURSUANT HERETO OR WITH THE
PROCEEDS HEREOF, RECOVERY HEREUNDER BY THE DEBTOR
SHALL NOT EXCEED AMOUNTS PAID BY THE DEBTOR
HEREUNDER, :

lfyou are buying a used vohicie: Tha information yousee on the
window form for this vehicle is part of this contract, information
on the window forny overrides any contrary provistons in the
contract of sale.

Si compra un vehiculo usado: La informacion que ve adherida en
{a Ventanilla forma parte de éste contrato, La Informacion
contenida en al formulario de fa ventanilla pravalace por sobre
toda olra disposicién en contrario incluida en el contrato de
compraventa. ;

Third Party Agreement
In this section only, you" means only the person signing this section,
By signing below youragree la give us a security interest in the Property

described in the Description of Property section, You also agree to the
terms of this Contracl except that you will not be liable for the payments
it requires. Your interest in tha Proporty may be used to salisfy the
Buyer's obligation. You agree that we may renew, extend or change
this Contract, or release any party or Properly without releasing you
from this Contract. We may take these Steps wilhoul notice or demand
upon you. !

You acknowladge receipt of a complated copy of this Contract.

 

By: NIA Date

ToT as. ere

The Annual Percentage Rate may be negotiable with the
Seller. The Sellermay assign this Contract and retain its
right to receive a part of the Finance Charge.

Arbitration. This Contract contains an Arbitration Provision (hat affects
your rights. .

 

 

 

Ratad lngratirent Contracted Not for dae In pangactlons secured by a dwalting,
Hankers Sytteme™
Wokers Kluwer Flaancial Santeas © 1995, 2010

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Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 37 of 41 PagelD: 156

 

GLO-DC-004171-18 07/18/2018 10:21:28 AM Pg 9 of 10 Trans ID: SCP20181592296

 

 

Assignment. This Contract and Security Agreemant is assigned to

erreeaenett aed attgnenererenen en Roe Te Te RE

Entire Agreement. Your and our antire agreement is contained In this Leaders Financial

Contract. There are no unwritten agreements regarding this Contract. 21 Commerce Dr., Cranford, NJ 07016 ‘
Any change to this Contract must be in writing and signed by you and the Assignee, phong (908) 497-9100. This assignment Is
by us, made under the tems of a separate agreement made between the

Seller and Assignee: [_| This Assignment is made with recourse.

if 14 A 4
A wkier r) at oh 4 4/23/2016 Seller

By: KATHLEEN = MITCHEN a Date /
. j ; 4/23/2016
r4

 

 

 

 

 

 

 

 

: wee 7 | a
place : By: ENGLISHfOUN AUTO SLS d/b/a Date
te A ede o 4/23/2016 WOODRNRY TREK opp

By: WILLIE DUKES” ‘ Date

By: Date

 

 

 

NOTICE TO RETAIL BUYER
Do not sign this Contract in blank,
You are entliled to a copy of the Contract at the time you sign, i
Keep it to protect your legal rights,

By signing below, you agree to the terms of this Contract. You .
tecelved a copy of this Contract and had a chance to read and ‘
review it before you signed it,

Buyer

fo, fe ;
Yo kiss. ade [uae
4 Pa Levy Wha che Se 4/23/2016

 

 

 

 

 

BY: KATHLEEN E MITCHEN Date
a oe .
- d oo o£? : : |
Stee fo bie 4/24/2016
By: WILLIE DUKES Date
By: Date

Seller

a
LP ~ 4/23/2016

. /.
By: =NGLrsuTOuN AUTO sis d/b/a Date
WOORBURY TRUCK CTR

 

 

Rotat trata rant Cortech) Not for ue in uanonetions cecurod by a awelting, S ? FAZNS 10512910
wake & Systonist* .
Welters Kower Finandal Seevicas © 1895, 2010 Paga Tot7

 
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GLO-DC-004171-18 07/18/2018 10:21:28 AM Pg 10 of 10 Trans ID: SCP20181592296

 

 

Notice to Cosigner
Craditor Cosigner : “|
Leaderg Financial WILLIE DUKES Transaction No, |
21 Commerce Dr, Ist Floor

424 PEACH st

Cranford, Ng 07016 VINELAND, No 08360

 

Date 4/23/2016 !

aera Esso

     

You are being asked to Guarantee this debt. Think caretully
you can alfard to pay it if you have to, and that you want to

before you da. If the borrower doesn't pay, you will have to. Be sure
accept this responsibility,

You inay have to Pay up fo the full amount of the debt if the borrower does not pay. You'may also have to pay fate fees or
collection costs, which increase this amount. : ,

The creditor can collect this debt from you without first trying toc
collection methods against you tha
ever in default, that fact may

ollect from the borrower, The creditor can use the Satue

{can be used against the borrower, such as Suing you, Barnishing your wages, etc. If this debt is
become part of your credit record, ‘

This notice is not the Contract that makes you fiable for the deht.

   
 

By signing, | acknowledge receipt of a copy of this Notice t Casi:
' i
‘ ns

“ b Y

&iter an taday's date.

\

: j
yoo ge Pg re 3 wo
ALMA i ay Vhs 23/2016
WILLIE SUKES Date

 

Date

 

 

 

Natice to Cosignss
Bankers Syatena tia

"hi BMPTCLAZ {Re0nn
Wolters Kluwer Finenclal Seviens 4 ton, 2008 faltiats: ML Page vat

 

 
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 39 of 41 PagelD: 158

GLO-DC-004171-18 07/18/2018

10:21:28 AM Pg 1 of 3 Trans ID: SCP20181592296

 

 

 

Superior Court of New Jersey
Law Division, Special Civil Part
GLOUCESTER County
Docket No: GL O-DC-004171-18
Civil Action
CONTRACT DISPUTE

 

YOU ARE BEING SUED!

 

Person or Business Suing You Plaintiff
LEADERS FINANCIAL COM PANY ASSIGNEE OF
ENGLISHTOWN AUTO SLS D/B/A
See Page 3 for Plaintiff list

Plaintiff’ s Attor ney Information

CHRISTOPHER P ODOGBILI
PRESSLER FELT & WARSHAW, LLP

 

7 ENTIN RD
PARSIPPANY , NJ07054-9944
973-753-5100
a=
Inthe attached complaint, the person or business suing you
money he or she clams you owe, If you do not an

plaintiff what the plaintiff is askin
or a signed agreement. If a
property to pay all or part of

[F YOU DISAGREE WITH THE PLAINTIFF’
RECEIVED BY THE COURT ABOVE, ONO
DISAGREE WITH THE PLAINTI FF, YOU MUST DO

1. Answer the complaint. An answer form that will ex

 

complaint made against you:
Fill out the Answer form AND pay the

ee
pl

Hand deliver or send by regular mail a copy of the

you file your Answer with the court on or before

Resolve the dispute. Contact the
dispute. The plaintiff may

 

WOODBURY TRUCK CTR

swer thecom
g for, plus interest and
judgment is entered against you,
the judgment. The judgment is valid for 20 years,

SCLAIMS, A WRITTENA
R BEFORE 08/27/2018, OR

plain how to respond to the complaint is avalable at any
Civil Part Offices or on the Judiciary’ s Internet site nicourts.gov under the section for Forms, If you decide

applicable fil
Include GL O-DC-004171-18 (your Docket Number) on the check.
Mall or hand deliver the completed Answer form and the check or money order to the court’ s address listed above.

an attorney, send your completed answer farm to the plaintiff by regular and certified mail.
08/27/2018.

plaintiff’ s attorney, or contact the
agree to accept payment arrangements. |
agreement to the court’ s address listed above on or before 08/27/2018.

 

Person or Business Being Sued Defendant
KATHLEEN E MITHCELL A/K/A KATHLEEN MITCHELL
WILLIE DUKES

See Page 3 for Defendant list
The Person or Business Suing You Claims You Owe the

 

 

 

Following:
Demand Amount $1114.86
Filing Fee $55.00
Service Fee $14.00
Attorney's Fees $0.00
TOTAL $1183.86
D a=. @

briefly tells the court his or her version of the facts of the case and how much
plaint, you may lose the case automatically and the court may givethe
court costs. You have 35 days from the dateof service te fileyour answer
a Special Civil Pat Officer May seize your money, wages or personal

NSWER OR SIGNED AGREEMENT MUST BE
THE COURT MAY RULE AGAINST YOU. IF YOU
ONE OR BOTH OF THE FOLLOWING:

 

of the New Jersey Special
to filean answer to the

ing fee by check or money order payable to: Treasurer, Stateof New Jersey.

completed Answer form to the plantiff’s attorney. If the plaintiff does not have

This MUST be donea the same time

plaintiff if the plaintiff does not haven attorney, to resolve this
f you reach an agreement, mail or hand deliver the SIGNED

/x¥ MichealleM. Smith
Clerk of the Superior Court

 

 
Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 40 of 41 PagelD: 159

GLO-DC-004171-18 07/18/2018 10:21 ‘28 AM Pg 2 of 3 Trans ID: SCP20181592296

 

 

 

 

 

Direccion y teléfono del tribunal El Tribunal Superior de Nueva Jer sey
Parte Civil Especial de GLOUCEST ER Division de Derecho, Parte Civil Especial
1 NORTH BROAD STREET Condado de GLOUCESTER
WOODBURY , NJ.08096-0000 Numero del expediente GL O-DC-004171-18
856-853-3392 Demanda de Accién Civil
NOTIFICACION DE DEMANDA
CONTRACT DISPUTE

 

 

jLE ESTAN DEMANDANDO!

 

 

 

 

Persona o entidad comercial que le esta demandando (a Persona o comercial ser demandada (el demandado)

demandante) KATHLEEN E MITHCELL A/K/A KATHLEEN MITCHELL

LEADERS FINANCIAL COMPANY ASSIGNEE OF WILLIE DUKES

ENGLISHTOWN AUTO SLS D/B/A WOODBURY TRUCK

CTR See Page 3 for Defendant list

See Page 3 for Plaintiff list La persona 0 comercial quele esta demandando afirma que

Informacion sobred abogado deal denandante usted le debe lo siguiente:

CHRISTOPHER P ODOGBILI Cantidad ala vista $1114.86

PRESSLER FELT & WARSHAW, LLP Tasa judicial $55.00

7 ENTIN RD Cargo del emplazamiento $14.00

PARSIPPANY , NJ07054-9944 Honorarios del abogado 30.00

973-753-5100 TOTAL $1183.86
PARA e oye PODER D a

afios.
SlUSTED NO ESTA DE ACUERDO CON LASALEGACIONES DEL DEMANDANTE, EL TRIBUNAL TIENE QUE RECIBIR
UNA RESPUESTA POR ESCRITO O UN ACUERDO FI RMADO PARA EL 08/27/2018 0 ANTES DE ESA FECHA, O EL JUEZ

PUEDE EMITIR UN FALLO EN SU CONTRA. S! USTED NO ESTA DE ACUERDO CON EL DEMANDANTE, DEBE HACER
UNA DE LAS SIGUIENTESCOSASO LAS DOS:

1. Responder ala demanda. Un formulario de respuesta que le explicara cémo responder ala demanda esta disponible en cualquiera de las
Oficinas de la Parte Civil Especial de Nueva Jersey 0 en el sitio Internet del Poder Judicial njcourts. gov bajo la seccin de formularios
(Forms). Si usted decide presentar una respuesta ata demanda que se hizo en su contra
Llene el formulario de Respuesta Y pague la tasa judicial de Presentacion que corresponda mediante un cheque o giro bancario o

postal acreditable a: "Treasurer, State of Nay Jersey" (Tesorero del Estado de Nueva Jersey). Incluya
GL O-DC-004171-18 (a ntimero de su expediente) en ef cheque.
Envie por correo el formulario de Repuesta llenado y ef cheque o giro bancario o posta ala direccion del tribunal que figura mas
arriba, o entréguelos personamente en dicha di reccién,
Entregue personal mente o envie Por correo comtin una copia del formutario de Repuesta Ilenado al abogado del demandante. Sid
demandante no tiene abogado, envie su formulerio de respuesta !lenado al demandante por correo comtin y por correo certificado.
Esto SE TIENE que hacer a mismo tiempo que presente su Respuesta al tribunal a mas tardar e 08/27/2018,

direccion a mas tardar el 09/27/2018.

Nota - Puede que usted quiera conseguir que un abogado para quelo represente. Si usted no puede pagar aun abogado, podria obtener
consejos legales gratuitos si se comunica con Legal Services (Servicios Legal €s) llamando a 856-848-5360. Si usted puede pagar a un

/s! MichelleM. Smith

 

 

Subsecretario(a) del Tribunal Superior

 

 
 

Case 3:19-cv-06615-BRM-DEA Document9 Filed 06/10/19 Page 41 of 41 PagelD: 160

GLO-DC-004171-18 07/18/2018 10:21:28 AM Pg 3 of 3 Trans ID: SCP20181592296

 

Court's Address and Phone Number:
GLOUCESTER Special Civil Part

1 NORTH BROAD STREET
WOODBURY, NJ 08096-0000

 

856-853-3392

 

Superior Court of New Jersey
Law Division, Special Civil Part
GLOUCESTER County

Docket No: GLO-DC-004171-18

Civil Action
SUMMONS
CONTRACT DISPUTE

 

Additional Plaintiffs/demandantes adicionales

 

Additional Defendants’demandados adicionales
aa! Gendaniscemandados adicionales
WILLIE DUKES

 

 
